USCA Case #24-5173           Document #2091490                    Filed: 12/26/2024          Page 1 of 4




December 26, 2024

Mark Langer
Clerk of Court
U.S. Court of Appeals for the District of Columbia Circuit
333 Constitution Ave., NW
Washington, DC 20001

VIA CM/ECF
            Re: Newman v. Moore, No. 24-5173; Rule 28(j) Letter

Dear Mr. Langer:

     Judge Newman submits this letter under Federal Rule of Appellate
Procedure 28(j) in order to bring to the Court’s attention pertinent legal
authorities that have come to light after Judge Newman filed her
Opening Brief.
      A disciplinary complaint was recently filed against Judge Stephen
Vaden of the Court of International Trade (“CIT”). The CIT is similar to
the U.S. Court of Appeals for the Federal Circuit because both are
“national” courts, and the judicial council of each court consists solely of
judges of those respective courts. See 28 U.S.C. § 363. When the Chief
Judge of the CIT declined to dismiss the complaint against Judge Vaden,
rather than investigate the complaint against his own colleague, he
requested a transfer of that matter to a judicial council of another circuit.
See First Liberty, Federal Judge, Stephen Vaden, Faces Disciplinary
Action      After      Convicted      Terrorist      Files       Complaint,
https://tinyurl.com/36ex8syy. This transfer is consistent with the


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USCA Case #24-5173    Document #2091490         Filed: 12/26/2024   Page 2 of 4
2|NCLA


practice of all other circuit courts and is inconsistent with the actions of
Defendants-Appellees herein.
      Similarly, when a complaint was recently filed against Judge
Michael A. Ponsor of the United States District Court for the District of
Massachusetts, given the small size of the First Circuit’s judicial council
and extraordinary familiarity that all members have with one another,
the complaint was also transferred out of the circuit. See In the Matter
of a Judicial Complaint, No. 04-24-90094 (Chief Judge of the Fourth
Circuit, Dec. 10, 2024), https://tinyurl.com/373wv7zr. Again, these
examples illustrate that in all other cases where even the appearance of
conflict of interest may have arisen, the matter has always been
transferred to another circuit court’s judicial council.
      These two matters further support Judge Newman’s argument that
the failure to transfer in her case, where all actors know each other too
well, has denied her due process of law.
     I would appreciate your circulating this letter to the members of the
Court.


                                          Respectfully submitted,
                                          /s/ Gregory Dolin
                                          Senior Litigation Counsel
                                          NEW CIVIL LIBERTIES ALLIANCE
USCA Case #24-5173   Document #2091490        Filed: 12/26/2024   Page 3 of 4
3|NCLA


                 CERTIFICATE OF COMPLIANCE


      This letter complies with the type-volume limit of Federal Rule of

 Appellate Procedure 28(j) because it contains 317 words. The letter also

 complies with the typeface and type-style requirements of the Federal

 Rule of Appellate Procedure because it was prepared using Microsoft

 Word in Century Schoolbook 14-point font, a proportionally spaced

 typeface.




                                         /s/ Gregory Dolin
                                         Gregory Dolin
USCA Case #24-5173    Document #2091490        Filed: 12/26/2024   Page 4 of 4
4|NCLA


                     CERTIFICATE OF SERVICE


      I hereby certify that on December 26, 2024, I electronically filed

 the foregoing with the Clerk of Court using the CM/ECF system which

 will send notification of such filing to all registered users associated

 with this case.



                                          /s/ Gregory Dolin
                                          Gregory Dolin
